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                       EXHIBIT B

                    Rule 2016 Statement
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al., 1                                     )     Case No. 23-11069 (CTG)
                                                                  )
                          Debtors.                                )     (Jointly Administered)
                                                                  )

         STATEMENT UNDER RULE 2016 OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE AND SECTION 329 OF THE BANKRUPTCY CODE

         1.      Kasowitz Benson Torres LLP (the “Firm”), pursuant to Rule 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and section 329 of title 11 of the

United States Code (the “Bankruptcy Code”), hereby makes this statement in support of the

Debtors’ Application Pursuant to Sections 327(e), 328(a), and 330 of the Bankruptcy Code for

Entry of an Order Authorizing the Retention and Employment of Kasowitz Benson Torres LLP,

as Special Litigation Counsel to the Debtors Effective as of the Petition Date (the

“Application”), and states: 2

         2.      The Debtors have agreed to pay the Firm for the legal services that have been or

will be rendered by its various attorneys, paralegals, and case management assistants in

connection with these cases on the Debtors’ behalf, as set forth in the Application. The Debtors

have also agreed to reimburse the Firm for its actual and necessary expenses incurred in

connection with these cases, as set forth in the Application. The Firm received payment from the

Debtors during the year prior to the Petition Date in the amount of $10,808,844. As of the

1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
2
         Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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Petition Date, the Firm had an outstanding invoice to the Debtors in the amount of $1,323,987.

The prepetition arrears were the direct result of the significant legal work arising out of and

necessitated by the events described in the IBT Action and related to fees incurred in the month

prior to the commencement of the chapter 11 cases.

       3.      The Firm will seek approval of payment of compensation for postpetition services

upon the filing of appropriate applications for allowance of interim or final compensation

pursuant the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any other applicable

orders of this Court.

       4.      The Firm further states that it has neither shared nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the

members, of counsel, and associates of the Firm, or (b) any compensation another person or

party has received or may receive.


Dated: September 7, 2023             KASOWITZ BENSON TORRES LLP


                                     _/s/ Marc E. Kasowitz_____________________________
                                     Marc E. Kasowitz
                                     Partner

                                     Proposed Special Litigation Counsel to the Debtors




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